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Attorneys for Plaintiff

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



ZEIKOS INC.,


                                 Plaintiff,                21-cv-19993-SDW-JRA
      v.


WALGREEN CO.,                                               STIPULATION AND
                                                            PROPOSED ORDER
                               Defendant.




       IT IS HEREBY STIPULATED AND AGREED, by and between plaintiff Zeikos Inc.

and defendant Walgreen Co., through their undersigned counsel, subject to the approval of the

Court, as follows:

       1.      Plaintiff may file the Amended Complaint annexed hereto as Exhibit A (the

“Amended Complaint”).

       2.      Defendant shall respond to the Amended Complaint within 30 days from the date

of the filing of the Amended Complaint.
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       3.      The Parties shall cooperate to adjust the Pretrial Scheduling Order entered March

29, 2022, in an appropriate manner, and shall apply to the Court in the event that an agreement

cannot be reached.

       4.      Facsimile signatures of the parties’ respective undersigned counsel shall be

deemed to be original.

Dated: May 16, 2022


DUNNEGAN & SCILEPPI LLC                                     LEE ANAV CHUNG WHITE KIM
                                                              RUGER & RICHTER LLP

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Dated: May __, 2022
       Issued at ______ ___.m.

                                                    SO ORDERED:



                                                    ____________________________________
                                                    HONORABLE JOSÉ R. ALMONTE
                                                    UNITED STATES MAGISTRATE JUDGE




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